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  8                           UNITED STATES DISTRICT COURT
  9                          SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF A!vffiRICA,                        Case No.: 10-CR-2740-W
 12                                       Plaintiff,
                                                           ORDER DENYING MOTION TO
 13    V.                                                  REDUCE SENTENCE
 14    RALPH REDD,
 15                                     Defendant.
 16
 17            On February 29, 2012, this Court sentenced Defendant Ralph Redd to 180 months
 18    imprisonment for sex trafficking of children, in vlolation of 18 U.S.C. § 1591, sexual
 19    exploitation of children, in violation of 18 U.S.C. § 2251, and distribution of images of
20     minors engaged in sexually explicit content, in violation of 18 U.S.C § 2252(a)(2).
 21    Defendant now moves for a reduction in sentence under 18 U;S.C. § 3582(c)(1XA),
22     arguing that his hypothyroidism; increased risk of diabetes and high cholesterol; and
· 23   family history of cancer, high blood pressure, hypertension, and asthma make him
24     particularly vulnerable to becoming seriously ill from COVID-19.
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 1         18 U.S.C. § 3582(c) provides that a defendant may bring a motion only after he has
 2   "fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons" to
 3   bring a motion on his behalf. Defendant has satisfied the exhaustion requirement and the
 4   Court has jurisdiction and for the reasons below DENIES Defendant's motion.
 5         Under 18 U.S.C. § 3582(c)(l)(A), a court may reduce a defendant's term of
 6   imprisonment "after considering the factors set forth in [18 U.S.C. § 3553(a)]" if the
 7   court finds that "extraordinary and compelling reasons warrant such a reduction" and
 8   "such a reduction is consistent with applicable policy statements issued by the Sentencing
.9   Commission." The United States Sentencing Commission ("USSG") recognizes that
10   certain medical conditions may constitute an "extraordinary and compelling reason"
11   warranting a reduction in sentenced under§ 3582. See USSG § 1BL13. However,
12   application note l(A) limits a reduction for medical conditions to "terminal illness" or if
13   the defendant is:
14                (I) suffering from a serious physical or medical condition,
15                (II) suffering from a serious functional or cognitive impairment, or
16                (III) experiencing deteriorating physical or mental health because of
17                the aging process,
18         that substantially diminishes the ability of the defendant to provide self-care
19         within the environment of a correctional facility and from which he or she is
20         not expected to recover.
21   U.S.S.G. § lBl.13, cmt. n.l(A)(i)-(ii). Defendant's medical ailments do not meet these
22   limitations. Defendant's controlled thyroid condition is not one of the conditions
23   identified by the CDC as increasing a person's risk for developing serious illness from
24   COVID-19. The other potential ailments listed by Defendant are purely conjecture and
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  1 thus do not rise to the level of a risk factor. Nor does the potential to contract COVID-19
  2    generally, which threatens every non-immune person in the country. The Bureau of
  3    Prisons has a lengthy and detailed protocol addressing social distancing, hygienic and
  4    cleaning protocols, and the quarantining and treatment of symptomatic inmates. .
  5          Based on the foregoing, Defendant is not eligible for a sentence reduction due to
  6    extraordinary .and compelling reasons under the USSG policy statement.
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  8          IT IS SO ORDERED.
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 10    Dated: August 27, 2020
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. 12                                             Hon. Th~~Whelan
                                                 United States District Judge
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